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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                  Plaintiff,

     v.                                    No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,                  Oral Argument Requested
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                 Defendants.



           Reply In Support Of Joint Motion To Dismiss Amended Complaint
          Against Defendants Binance Holdings Limited And Changpeng Zhao
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                                            Introduction

       In a clear demonstration that the SEC cannot meet its pleading burden in this case, the

agency once again ignores the transaction-specific analysis required by Howey and this Court’s

prior motion-to-dismiss ruling. Despite this Court’s clear guidance, the SEC still refuses to eval-

uate different kinds of transactions, for different kinds of tokens, for different kinds of buyers and

sellers, and at different points in time. Instead, the agency insists that the “economic realities” for

all digital-asset transactions remain the same no matter the circumstances, including for blind re-

sale transactions. E.g., Opp. 8, 21, 22, 38. According to the SEC, that is because crypto tokens

(with the possible and unexplained exceptions of Bitcoin and Ether) “have no inherent use or

value.” Opp. 1. But that incorrect assertion is both beside the point and belied by the Amended

Complaint, which describes numerous ways each of the challenged tokens is used in the real world

for purposes as varied as paying employee salaries, purchasing data storage, and playing games

online. The result is the same as in the last round of briefing on secondary sales: the SEC has

failed to show that each “particular transaction” at issue was an investment contract. SEC v. Bi-

nance Holdings Ltd., 2024 WL 3225974, at *20 (D.D.C. June 28, 2024).

       The SEC spends much of its brief complaining that Defendants seek to impose “rigid re-

quirements not found in Howey’s test.” Opp. 4. In doing so, the SEC ignores Howey’s explicit

requirement of an “investment of money in a common enterprise,” SEC v. W.J. Howey Co., 328

U.S. 293, 301 (1946) (emphasis added), deriding this part of the test as a “flow into” requirement,

without ever providing another interpretation. Opp. 4. Rather than looking to whether a promoter

used investors’ capital to create or fuel a profit-making business, the SEC argues that a common

enterprise requires only that purchasers hold a “fungible” asset that appreciates or depreciates due

to “ongoing fluctuations” in the market. Id. at 18, 23. But that is just another way of saying




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purchasers own the same asset—which fails to provide courts a rational way to distinguish crypto

tokens that are sold as investment contracts from tokens that are simply commodities (such as

Bitcoin and Ether, which the SEC concedes are not securities).

       According to the SEC, applying Howey to resales would impose a “categorical[]” rule that

secondary-market transactions “cannot involve securities.” Opp. 9. But there are, of course, ways

that secondary-market transactions can satisfy Howey’s transaction-by-transaction analysis, such

as, for example, where an investor reassigns an investment contract to someone else. The SEC

refuses to engage in that analysis for the transactions at issue here, choosing instead to conflate the

blind resale of a crypto token—an asset that this Court has already held does not embody an in-

vestment contract—with the initial sale of the token years earlier as part of an investment contract

with the token’s developer.

       Indeed, the SEC does not dispute that its test cannot distinguish Beanie Babies from in-

vestment contracts until (maybe) summary judgment. See Mot. 2. Nor could it. Every aspect of

the SEC’s arguments about blind resales could have applied to resales of Beanie Babies in the

1990s. Ty Warner cultivated “a sense of rarity and exclusivity” with a “unique distribution model”

that tightly controlled which retailers received which Beanie Babies, retired and then “un-retire[d]”

“specific designs” to generate hype and demand, and even announced that it would “stop making

Beanie Babies,” promising to reduce supply and thereby increase prices—all of which produced a

highly speculative secondary market. 1

       So, were Beanie Babies “investment contracts”?            The SEC’s answer appears to be

“maybe.” See ECF 273-1 at 2 (Mot. to Amend). The agency’s inability to articulate a coherent


1
  The Beanie Baby Craze: A Look Back at the 90s Collectible Phenomenon, Vintage Virtue,
https://tinyurl.com/mu9862ms (last accessed Dec. 22, 2024); The Insane History of Beanie Babies,
Public.com, https://tinyurl.com/h59c9sf8 (last accessed Dec. 22, 2024).


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line between investment contracts and resales of Beanie Babies (or other assets) confirms that its

test “provides no basis upon which to distinguish securities from non-securities.” SEC v. Life

Partners, Inc., 87 F.3d 536, 545 (D.C. Cir. 1996) (“Life Partners I”).

        The SEC’s claims concerning employee compensation and Simple Earn similarly rest on a

misapplication of Howey and therefore also fail. And all the agency’s claims concerning the third-

party tokens fail for the independent reason that the SEC failed to join required parties—namely,

the tokens’ developers. The SEC insists that its discretion to bring enforcement actions somehow

exempts it from the requirements of the Federal Rules of Civil Procedure. Not so. The SEC, like

any other litigant, must comply with the rules when it brings a lawsuit.

        Finally, the SEC’s requests for disgorgement against Defendants should be dismissed be-

cause the SEC still fails to articulate any theory of liability that could entitle the agency to that

equitable relief.

                                            Argument

I.      The SEC Fails To Show How The Amended Complaint Satisfies Howey. (Amended
        Portions Of Count 1, Count 3, And All Of Counts 5–12)

        A.      The SEC Fails To Show How Howey Is Satisfied For The Particular Kinds Of
                Transactions Challenged Under The Exchange Act. (Counts 5–12)

        The SEC’s Exchange Act claims fail because they hinge entirely on the SEC’s inadequate

allegations that token sales on the Binance.com and Binance.US exchanges were investment con-

tracts. Mot. 10–32 (explaining why none of the challenged token sales satisfies Howey). The SEC

now confirms that its “Exchange Act Claims address the intermediary services” Defendants pur-

portedly provided to facilitate “offers and sales” of BNB and other tokens—not separate programs

like BNB Vault, Simple Earn, or BAM’s Staking Program that BHL or BAM offer directly to their

customers. Opp. 6 n.1 (emphasis added); see also Mot. 10–11. And the SEC never attempts to

explain why the Court should allow Counts 5–12 to proceed based on programs that are irrelevant


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to those Counts. 2

       The agency must satisfy its burden to state a claim as to all eleven tokens (BNB and ten

third-party tokens). Mot. 10–12. The SEC admits that whether claims related to the third-party

tokens are “dismissed” implicates “the scope of liability and remedy,” Opp. 67—i.e., its claims

concerning the third-party tokens are separate claims. And the SEC has forfeited any argument to

the contrary by failing to address the issue in its opposition brief. See, e.g., Iweala v. Operational

Techs. Servs., Inc., 634 F. Supp. 2d 73, 80 (D.D.C. 2009).

               1.      The SEC Fails To Show That Blind Resale Transactions Involving
                       Token Developers Were Investment Contracts.

       Blind resale transactions, in which a purchaser neither invests her money into a common

enterprise nor has any expectation that her money will be used to create profits, are not investment

contracts under Howey. Mot. 12–20. The SEC’s opposition brief refuses to distinguish these

transactions from initial sales, e.g., Opp. 32, instead simply repeating its mantra that the “economic

reality” is the same regardless of the time, manner, or parties to a sale, e.g., id. at 21. 3 But Howey

applies on a transaction-by-transaction basis, Marine Bank v. Weaver, 455 U.S. 551, 560 n.11

(1982), and “it is the economic reality of the particular transaction, based on the entire set of

contracts, expectations, and understandings of the parties, that controls,” Binance, 2024 WL

3225974, at *1, *20 (emphasis added); see also SEC v. Ripple Labs, Inc., 682 F. Supp. 3d 308,



2
  Likewise, the SEC never disputes that BNB’s ICO—which did not occur on the Binance.com or
Binance.US platforms and predates their existence—cannot support its Exchange Act claims. The
SEC briefly argues that cabining its Exchange Act claims to their admitted scope (token sales),
would require “reconsideration” of the Court’s prior order. Opp. 61. Not so. The SEC filed an
amended complaint with new allegations, and Defendants seek dismissal of those amended claims
for failure to state a claim under Rule 12(b)(6). Defendants do not seek reconsideration.
3
 The SEC does not dispute that dismissing this bucket of transactions would remove five third-
party tokens from the case altogether (ADA, FIL, ATOM, ALGO, and COTI) and substantially
narrow the case for the remaining six tokens (BNB, SOL, SAND, MANA, MATIC, and AXS).


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329 n.16 (S.D.N.Y. 2023) (“Ripple I”) (courts look to “the totality of [the] circumstances and the

economic reality of th[e] specific … transaction”), appeal pending, No. 24-2648 (2d Cir.).

       No investment of money into a common enterprise. The SEC makes no attempt to show

that purchasers in resale transactions contributed capital to the promoter’s “common enterprise,”

and the agency admits that purchasers did “not put funds ‘in the hands of the issuer.’” Opp. 4.

       That concession should put an end to the SEC’s claims concerning blind resales. Howey

requires “the placing of capital or laying out of money in a way intended to secure income or profit

from its employment.” 328 U.S. at 298 (emphasis added). Purchasers must “provide the capital.”

Id. at 300–01. The SEC never squares its test with this language in Howey. Instead, the SEC

claims that the test is satisfied if a purchaser “invest[s] money in the asset.” Opp. 17–18 (quoting

SEC v. Payward, Inc., 2024 WL 4511499, at *1, *13 (N.D. Cal. Aug. 23, 2024)) (emphasis added).

But Howey requires an “investment of money in a common enterprise.” 328 U.S. at 300–01 (em-

phasis added). In addition to disregarding Howey’s clear language, the SEC’s approach fails to

differentiate securities transactions from ordinary asset sales where an investor hopes her asset will

increase in value, which is a critical purpose of the Howey analysis. See Binance, 2024 WL

3225974, at *26 (“Not every ‘profit-making opportunity’ is an investment contract.”).

       The SEC argues that no court has ever held that Howey requires an investor’s money to

“flow into” a common enterprise, Opp. 8, but that is false. Setting aside that Howey itself imposes

that requirement, Ripple I applied this requirement to digital-asset sales, holding that certain XRP

“[d]istributions did not constitute the offer and sale of investment contracts” “because Ripple never

received the payments from these XRP distributions,” and the SEC had done nothing to show that

“payment of money for these XRP sales [e]ver traced back to Ripple.” 682 F. Supp. 3d at 330–




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31. The SEC’s attempt to distinguish Ripple I ignores that clear holding. Opp. 23. 4

       The SEC invokes out-of-circuit decisions in Gary Plastic and Hocking, Opp. 23, but neither

case held that Howey is satisfied even when a purchaser does not invest money into a common

enterprise. In Gary Plastic, Merrill Lynch “pooled funds” to facilitate the enterprise. 756 F.2d

230, 235 (2d Cir. 1985). Moreover, the banks—which indisputably received purchasers’ money—

were also part of a common enterprise that was “essentially a joint effort between the issuer of the

CD, the deposit bank, and Merrill Lynch.” Id. at 241–42.

       Hocking is similarly distinguishable. There, the owner of a condo entrusted his property

to the operator of a rental-pool arrangement in exchange for “a pro rata share of the rental income”

the operator generated. Hocking v. Dubois, 885 F.2d 1449, 1453 n.4 (9th Cir. 1989) (en banc); id.

at 1459. The owner bought the condo itself from an unrelated third party, but only as part of “a

package” that included the offer of a rental arrangement in which he and other “participants”

“pool[ed] their assets”—their condos—in “a single common enterprise.” Id. at 1459. If the trans-

action had involved merely “[t]he simple purchase of real estate,” and “no pooling of interests,”

Howey would not have been satisfied. Id. Indeed, the SEC’s own amicus brief in that case took

pains to emphasize that owners who merely “resell their own individual units” would not fall

within the securities laws. Brief of Amicus Curiae SEC, at 13 (attached as Exhibit 1).

       The SEC also points to recent district court opinions that purportedly conclude that resales

of digital assets are “investment contracts” if the assets were initially sold as part of an investment



4
  The SEC’s treatment of Rubera and McCown similarly ignores those cases’ holdings. Opp. 11–
12. In SEC v. Rubera, investors “turned over substantial amounts of money to Alpha [the pro-
moter].” 350 F.3d 1084, 1090 (9th Cir. 2003). In McCown v. Heidler, purchasers similarly “en-
trusted their monies solely to the management of Heidler Corporation” to facilitate real-estate de-
velopment. 527 F.2d 204, 209 (10th Cir. 1975). In both cases, unlike here, the purchasers’ capital
contributions went to the enterprise.


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contract. Opp. 9–10. Defendants have already addressed many of the SEC’s cases, Mot. 14–15,

and the rest either diverge from Howey’s transaction-by-transaction analysis or present no rea-

soned analysis. In several (some of which involve sales by developers), the “investment of money”

element was undisputed, so there was no analysis of the element’s application to resales. 5 In

others, the defendants did not make substantive Howey arguments. 6 In still others, the courts in-

correctly assumed that “investing in an asset” (i.e., simply buying it) is sufficient. 7 And in two,

the courts simply cited SEC v. Terraform Labs Pte. Ltd., 684 F. Supp. 3d 170 (S.D.N.Y. 2023). 8

This Court declined to follow Terraform, instead adopting Judge Torres’s transaction-by-transac-

tion approach from Ripple I, which Howey requires. See Binance, 2024 WL 3225974, at *19–20.

       Next, the SEC contends that failing to treat resales of tokens as investment contracts im-

poses a categorical rule that investment contracts can never be sold on secondary markets. But

Defendants have not argued for any such categorical rule—to the contrary, it is the SEC that is




5
  See, e.g., SEC v. Telegram Group Inc., 448 F. Supp 3d 352, 369 (S.D.N.Y. 2020) (“Telegram
does not dispute that there was an investment of money by the Initial Purchasers.”); SEC v. LBRY,
Inc., 639 F. Supp. 3d 211, 216 (D.N.H. 2022) (“[O]nly the third component of the Howey test is
in dispute”); Audet v. Fraser, 605 F. Supp. 3d 372, 390 (D. Conn. 2022) (parties “do not dispute”
investment of money); SEC v. Coinbase, Inc., 726 F. Supp. 3d 260, 290 (S.D.N.Y. 2024) (“De-
fendants do not dispute” investment of money); Dufoe v. DraftKings Inc., 2024 WL 3278637, at
*1, *4 (D. Mass. July 2, 2024) (“Defendants d[id] not debate” investment of money); Barron v.
Helbiz Inc., 2021 WL 229609, at *1 (S.D.N.Y. Jan. 22, 2021) (case concerned “money raised in
the ICO”).
6
 See Samuels v. Dao, 2024 WL 4815022 (N.D. Cal. Nov. 18, 2024); Hardin v. TRON Found.,
2024 WL 4555629 (S.D.N.Y. Oct. 23, 2024); Houghton v. Leshner, 2023 WL 6826814 (N.D. Cal.
Sept. 20, 2023); Owen v. Elastos Found., 2021 WL 5868171 (S.D.N.Y. Dec. 9, 2021).
7
 See, e.g., Payward, 2024 WL 4511499, at *1, *13 (“investing money in the asset”); SEC v. Wahi,
2024 WL 896148, at *1, *5 (W.D. Wash. Mar. 1, 2024) (purchaser “paid for the tokens”); Patter-
son v. Jump Trading LLC, 710 F. Supp. 3d 692, 710 (N.D. Cal. 2024) (purchasers “invested fiat
… to purchase” tokens).
8
 See In re Ripple Labs, Inc. Litig., 2024 WL 3074379, at *1, *7 (N.D. Cal. June 20, 2024); Harper
v. O’Neal, 2024 WL 3845444, at *1, *10 (S.D. Fla. Aug. 16, 2024).


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asking for a categorical rule that resales of crypto tokens are essentially always investment con-

tracts, no matter the circumstances of the individual resales.

       To be clear, there are multiple ways to resell an investment contract that satisfy the require-

ment of an investment of money in a common enterprise. For example, an investor could resell an

investment contract on the secondary market by assigning her rights to a purchaser, at which point

that purchaser would step into the investor’s shoes. The second purchaser acquires an investment

contract, not simply an asset, because the resale transfers the entire relationship between the orig-

inal purchaser and the common enterprise (including the investment of money in a common enter-

prise). Cf. Fox-Greenwald Sheet Metal Co. v. Markowitz Bros., Inc., 452 F.2d 1346, 1357 n.69

(D.C. Cir. 1971) (“an assignee stands in the shoes of his assignor”). The SEC concedes that this

does not occur for the resales at issue here. Opp. 28 (acknowledging that “the public inducements

to buy BNB” do not “indefinitely ‘travel’ with the asset”).

       The SEC provides another example in its brief, noting that “units of master limited part-

nerships” “routinely trade in established secondary markets.” Opp. 14–15 & n.4. Units of a master

limited partnership entitle their holders “to quarterly cash distributions” from the partnership’s

“operating surplus.” 9 Thus, when a unit is resold, the secondary-market purchaser steps into the

entire relationship that made the unit an investment contract in the first place, acquiring both the

unit itself and the entitlement to earnings from the partnership.

       The difference here is simple: the SEC is challenging resales of crypto tokens that are assets

involving no ongoing relationship with a common enterprise, much less a relationship that one

person could transfer to another in a resale. Put differently, the blind resale of an ordinary token



9
 An Introduction: Master Limited Partnerships 9, Vinson & Elkins (Apr. 23, 2018), https://ti-
nyurl.com/5bbkjxv9.


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on an impersonal exchange does not transfer the “entire set of understandings and expectations”

that might have satisfied Howey when the developer initially sold the token to known buyers.

Binance, 2024 WL 3225974, at *11 (rejecting “embodiment” theory). Accepting that common-

sense distinction would not mean that contractual obligations are always required for investment

contracts to exist, as the SEC suggests. Opp. 13. Instead, it simply enforces the distinction be-

tween assets that are the subject of investment contracts and an investment contract itself, ensuring

that resellers of assets like citrus groves and beavers do not become the focus of the securities

laws. 10

           The Exchange Act also potentially covers certain categories of secondary sales (not alleged

here) that lack any reassignments of rights or contractual obligations. Mot. 15–16. For example,

a developer could publicly enlist an underwriter to purchase an initial distribution of tokens for

immediate resale on an exchange to increase the tokens’ circulation. The SEC dismisses this ex-

ample as “nonsensical,” Opp. 14, but this Court cited a similar real-world example in explaining

that “certain groups of secondary sales [might] meet the criteria of an investment contract.” Bi-

nance, 2024 WL 3225974, at *20 (citing Telegram, 448 F. Supp. 3d at 380–81).

           Given these examples, the SEC’s concern that applying Howey would remove investment

contracts from the scope of the Exchange Act is unfounded. Opp. 12. Moreover, the Exchange

Act is not a statute targeted solely at resales, but applies broadly to entities that create “a market




10
  See, e.g., Rodriguez v. Banco Cent. Corp., 990 F.2d 7, 10 (1st Cir. 1993) (“A simple sale of land,
whether for investment or use, is not a ‘security.’”); accord Woodward v. Terracor, 574 F.2d 1023,
1026 (10th Cir. 1978) (“[T]he expectation of a profit on resale is insufficient to transform what is
essentially a sale of real property into the sale of an investment contract.”); Hocking, 885 F.2d at
1462 (distinguishing “isolated resales”); Stenger v. R.H. Love Galleries, Inc., 741 F.2d 144, 146
(7th Cir. 1984) (“ordinary retail sale of paintings” not an investment contract).


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place or facilities” to sell securities, 15 U.S.C. § 78c(a)(1), including issuer sales. The SEC un-

derstands this, given that it is pursuing Exchange Act claims against BHL for allegedly intermedi-

ating sales of BNB. E.g., Opp. 61 (asserting that the “intermediary claims” can move forward

based on “Binance’s post-ICO sales of BNB”); id. at 15 (similar alleged sales for other tokens).

         No commonality. The SEC’s claims concerning blind resales also fail to satisfy the com-

monality requirement. Mot. 16–18. According to the SEC, commonality is satisfied whenever

multiple people purchase a “fungible” asset, placing them all “in the same boat.” Opp. 18, 20.

The SEC’s novel test has no basis in the D.C. Circuit’s settled approach to the common-enterprise

element. The D.C. Circuit’s decisions all involve “horizontal commonality,” which requires pool-

ing of funds. Mot. 17. For resales, the SEC obviously cannot establish “a pooling of investment

funds,” Opp. 20, given that “investment funds” concededly go to resellers—not developers, id. at

4, 12.

         The SEC asserts that token purchasers’ supposed “interdependenc[e]” is an “‘implicit form

of pooling.’” Opp. 24 (citation omitted). Although this “implicit pooling” language comes from

Life Partners I, that language is plainly inapplicable to the facts alleged in the Amended Com-

plaint. In Life Partners I, the promoter “aggregate[d] th[e] funds” of investors “to purchase …

fractional interests” in the same life-insurance policies. 87 F.3d at 539, 543. To make the invest-

ment profitable and offset costs, a critical mass of investors had to purchase “some minimum ac-

ceptable percentage” of the policy. Id. at 544. Thus, in Life Partners I, a group of investors pooled

their resources into the same life-insurance policy even though the promoter kept their funds in

separate accounts. Here, by contrast, crypto purchasers all independently procure separate tokens,

and one purchaser’s liquidation of her tokens in a resale transaction has no effect on other pur-

chasers’ ability to realize a profit. The purchasers’ money is not pooled into the same asset, unlike




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in Life Partners. Thus, “each investor’s acquisition is independent of all the other investors’ ac-

quisitions,” and “there is no pooling.” Id. 11

        Moreover, any form of commonality still requires a relationship between investors’ for-

tunes and the promoter, not just a common interest in the value of a fungible asset. Where a

purchaser simply buys an asset—even if “for investment” purposes or in the hope it would “in-

crease in . . . value”—the investor has not bought into a common enterprise as required for an

“investment contract” under Howey, even if the purchaser’s long-term economic interests are

aligned with the seller’s economic interests. Rodriguez, 990 F.2d at 10; see also id. (“‘securities’

are interests in an enterprise”). By contrast, under the SEC’s version of the test, de Beers, OPEC,

or Ty Warner would be in “common enterprises” with resale purchasers of diamonds, oil, or

Claude the Crab. 12

        No reasonable expectation of profits. Finally, the SEC’s claims concerning blind resales

fail under Howey’s requirement of a reasonable expectation of profits. Mot. 18–20. The SEC

again argues that purchasers need not have an understanding that they are making an investment

into a common enterprise with a developer. See, e.g., Opp. 4, 7. But that argument directly con-

tradicts this Court’s prior discussion of this issue. Howey requires a “plausible inference that the




11
  The SEC’s only attempt to establish actual pooling is its vague suggestion that token purchasers
are “dependent on a promoter’s deployment of the capital raised from selling the asset.” Opp. 23.
But as applied to blind resales, the SEC’s argument is a sleight of hand: Howey looks to whether
the purchaser made a capital contribution—not whether, in the absence of that contribution, the
promoter used somebody else’s capital from a different transaction to spur generally applicable
price appreciation. Again, the SEC refuses to correctly apply Howey to each transaction’s specific
economic realities.
12
  The SEC eventually pivots to so-called “vertical commonality,” claiming that a common enter-
prise exists either because developers also retained holdings of the tokens they issued, Opp. 24–
25, or because purchasers’ “financial fortunes” purportedly depended on developers’ efforts, id. at
25. This argument fails for the reasons BAM has explained. BAM Mot. 21–23.


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reasonable secondary buyer would expect [the token’s developer] to use their investment to gen-

erate profits on the buyer’s behalf,” and thus that purchasers be “told” how the “proceeds from”

their purchases “were to be deployed … to generate a return for their benefit.” Binance, 2024 WL

3225974, at *21–22, *24; see also id. at *21 n.15. 13 As Judge Torres explained in Ripple I, pur-

chasers in blind resale transactions “could not reasonably expect” a developer to use their funds to

do anything, since they could not even reasonably expect that the developer was the seller. 682 F.

Supp. 3d at 328.

        The SEC rejoins that investors could have expected to be making an investment in a profit-

making enterprise for three reasons: (1) developers’ ongoing marketing statements to generate

buzz about their tokens, Opp. 27–29, 32–33; (2) BHL’s listing the tokens on Binance.com, id. at

35–37; and (3) alleged “burns” to control token supply, id. at 30, 34–35. None of these theories

suffices to satisfy Howey.

        As to marketing statements, the SEC rehashes statements developers made to popularize

their tokens, Opp. 27–29, 32–33, which the SEC asserts drove “demand,” id. at 28, 33, and thus

“price,” id. at 28. But that indiscriminate approach could apply to any business that advertises its

products. Rolex promotes its products and provides maintenance services that help them maintain

value, but that does not turn resales of wristwatches into investment contracts.

        The SEC’s “amplification” theory is even further afield. The SEC argues that BHL en-

gaged in post-sale efforts to promote tokens created by other developers. Id. at 2–3, 38. But the




13
  The SEC contends that Defendants misread footnote 15 of this Court’s opinion. Opp. 16. The
Court’s opinion speaks for itself: the SEC’s first “complaint d[id] not lay out enough of the facts
and circumstances surrounding ongoing secondary sales to support … a plausible inference that
the reasonable secondary buyer would expect Binance to use their investment to generate profits
on the buyer’s behalf.” Binance, 2024 WL 3225974, at *21 n.15. So too here.


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SEC’s Exchange Act theory is not that BHL was in a common enterprise with those other devel-

opers under Howey; instead, the SEC claims that BHL provided “intermediary services” to buyers

and sellers. Id. at 15. BHL’s alleged promotion of third-party tokens on its website is more akin

to a retail website advertising products that might be sold by other companies than to a developer

promising post-sale efforts to earn profits for members of a common enterprise. Repeatedly telling

consumers that “Every kiss begins with K” does not transform Kay outlets into securities ex-

changes just because it makes diamonds more valuable.

        The SEC’s argument that BHL created an expectation of profits by listing tokens for sale

ignores controlling precedent. In Life Partners I, the D.C. Circuit rejected a similar argument that

providing a “secondary market” was a sufficient entrepreneurial effort. 87 F.3d at 546. Moreover,

pre-purchase efforts “cannot by themselves suffice to make the profits of an investment arise pre-

dominantly from the efforts of others.” Id. at 548. Listing a token on an exchange so that it can

be purchased in the future is by definition an activity undertaken before a token is purchased on

Binance.com. It therefore does not establish the requisite “post-purchase services.”

        Finally, the SEC points to burns that occurred for some (but not all) of the tokens at issue.

Opp. 30, 34–35. With respect to BNB burns specifically, the SEC contends that BHL used its

“profits” from its token sales to “repurchase and then destroy BNB,” reducing supply and increas-

ing price. Am. Compl. ¶ 304. But the SEC never explains why purchasers in blind resale trans-

actions could reasonably expect BHL to put their payments toward the burn. The SEC simply

denies that this showing is necessary. Opp. 16. 14




14
   The SEC also has no answer to the ministerial nature of several of the burns at issue, Mot. 20,
citing out-of-circuit authority to the effect that efforts are “managerial and entrepreneurial” when
they merely “‘affect the failure or success of the enterprise,’” Opp. 34 (quoting SEC v. Glenn W.



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               2.     The SEC Fails To Show That The Alleged Sales By Token Developers
                      Were Investment Contracts.

       Blind Sales By Token Developers. The SEC’s claims concerning blind sales of SOL,

SAND, MANA, and BNB by their developers fail for similar reasons. Mot. 21. The SEC never

disputes that sales of these four tokens were blind bid/ask transactions, precluding any reasonable

expectation that developers would deploy purchasers’ money “to use their investment to generate

profits on the buyer’s behalf.” Binance, 2024 WL 3225974, at *21 n.15; see also Ripple I, 682 F.

Supp. 3d at 328; supra at 11–13.

       The SEC also does not dispute (nor could it) that its only reference to sales by “the issuers

of SOL, SAND, and MANA” (other than the MANA IEO) comes in a single conclusory paragraph,

Am. Compl. ¶ 468, shorn of any facts about “the particular transaction[s]” alleged, Binance, 2024

WL 3225974, at *20. For this independent reason, the SEC’s claims concerning developer sales

of these three tokens should be dismissed.

       Initial Exchange Offerings. The SEC provides virtually no substantive defense of its

claims concerning three tokens (MATIC, AXS, and SAND) allegedly sold on Binance.com in

IEOs. To the extent the agency analyzes the IEOs at all, it addresses them under the common-

enterprise prong and notes simply that their developers “publicize[d]” that they would use sales

proceeds “to further develop the asset[s’] ecosystem[s],” thus increasing “value.” Opp. 18–19.

Defendants have not moved to dismiss the SEC’s IEO claims under that prong of Howey, and the

SEC has no specific response to Defendants’ explanation of why these transactions fail to satisfy

the requirement of a reasonable expectation of profits from the efforts of others. Mot. 22–23.




Turner Enters., Inc., 474 F.2d 476, 482 (9th Cir. 1973)). In the D.C. Circuit, Life Partners I re-
quires the Court to look to the nature of the act, not whether it has some de facto effect on pur-
chasers’ returns. 87 F.3d at 545–46.


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               3.      For All Of The Transactions, The SEC Fails To Show That A
                       Reasonable Buyer Purchased The Tokens Primarily For Investment
                       Purposes.

       The SEC’s Exchange Act claims fail for the additional reason that the SEC does not plau-

sibly allege the tokens were promoted and purchased primarily as an investment. Mot. 23–32. At

the pleading stage, it is the SEC’s burden to allege facts showing substantial elements of an in-

vestment contract. See Int’l Bhd. of Teamsters v. Daniel, 439 U.S. 551, 560 (1979); Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 557 (2007) (allegations consistent with both lawful and unlawful con-

duct “stop[] short of the line between possibility and plausibility”). The SEC has not done so.

       In response, the SEC incorrectly argues that transactions involving the tokens are invest-

ment contracts if their real-world applications were not the sole “inducement to purchase,” relying

on Forman’s observation that the buyers’ motivation to acquire housing units in that case “was

solely to acquire subsidized low-cost living space.” Opp. 43–44 (quoting United Hous. Found.,

Inc. v. Forman, 421 U.S. 837, 851 (1975)). But in Forman, the Supreme Court did not decide how

Howey would apply to transactions in mixed-motive cases. 421 U.S. at 853 n.17 (noting such

cases “may raise difficult questions that are not present in this case”). A few years later, in Daniel,

the Court took on that question directly and held that if a transaction has “intermingled security

and nonsecurity aspects,” it is an “investment contract” only when the transaction has “‘to a very

substantial degree elements of investment contracts.’” 439 U.S. at 560 (quoting SEC v. Variable

Annuity Life Ins. Co., 359 U.S. 65, 91 (1959) (Brennan, J., concurring)); see also Mot. 24.

       For the token sales challenged here, the SEC points to a host of generalized statements

marketing the tokens and asserting that the tokens would increase in value. E.g., Opp. 28–31, 39–

42. But the SEC fails to respond to Defendants’ explanation of the myriad ways the tokens at issue

were marketed to be used rather than as investments in a common enterprise. Mot. 25–32. The

Amended Complaint makes plain that the average crypto purchaser is far more capable of using


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the tokens for their intended purposes than a purchaser acquiring, for example, “live breeding bea-

ver[s]” raised on someone else’s farm. Kemmerer v. Weaver, 445 F.2d 76, 80 (7th Cir. 1971). 15

        In any event, the securities laws do not apply to an asset merely because some purchasers

speculate that it will increase in value or that they will otherwise earn money. Binance, 2024 WL

3225974, at *26. Purchasers might speculate that tokens would be good investments for any num-

ber of reasons (e.g., because of general trends in crypto markets or as a hedge against inflation).

The SEC’s reliance on a few selective, out-of-context quotes from token developers fails to plau-

sibly allege facts showing that for the specific transactions challenged in the Amended Complaint,

the more plausible inference is that reasonable investors viewed the tokens primarily as opportu-

nities to earn a share of the profits of a common enterprise.

        BNB. The SEC attempts to minimize statements about BNB’s utility by characterizing

them as “post-ICO references to ‘utility,’ or ‘currency.’” Opp. 46. The SEC’s Exchange Act

claims concerning BNB all concern “post-ICO” transactions, and the SEC fails to explain why

“post-ICO” marketing would somehow be less relevant to why a reasonable purchaser would buy

the token for those transactions. The SEC points to “exhortations about investment returns,” id.,

but ignores Defendants’ detailed explanation of how the same allegations and incorporated docu-

ments cited by the SEC show how BNB was marketed for consumptive purposes, Mot. 25–27.

        The Game Tokens (SAND, MANA, and AXS). The SEC concedes that non-transferable

game tokens are not securities, Opp. 45, but never explains why that line makes sense under Howey

for otherwise similar tokens, used on similar platforms, for similar purposes. Indeed, the SEC fails


15
  The SEC’s argument that the tokens’ available trading quantity reveals their investment purposes
also fails. Opp. 45. Even assuming that were a relevant factor, the agency makes no attempt to
differentiate large token transactions whose sheer size makes clear that purchasers “manifestly
could not use” the tokens. Cf. Cameron v. Outdoor Resorts of Am., Inc., 608 F.2d 187, 193 (5th
Cir. 1979) (“Karl obviously could not himself use twenty-five lots” at a campsite).


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to specifically respond at all to Defendants’ arguments concerning the three gaming tokens the

agency included in the Amended Complaint—SAND, MANA, and AXS—or dispute the various

ways they are marketed to be used on their respective platforms. Mot. 27–29. 16

        SOL, ADA, MATIC, FIL, ATOM, ALGO, and COTI. For the remaining tokens, the SEC

never responds to Defendants’ arguments. Mot. 29–32. Thus, the SEC has forfeited any argument

that they were marketed primarily as investment contracts. See Iweala, 634 F. Supp. 2d at 80.

        B.     The SEC Pled Itself Out Of Court For Post-ICO Sales Of BNB. (Count 1)

        The SEC’s amended allegations about BHL’s purported post-ICO sales of BNB undisput-

edly target blind bid/ask transactions, and thus fail to plausibly plead the required reasonable ex-

pectation of profits from the promoter’s efforts. Supra at 11–13. That requires dismissal of those

portions of Count 1 (brought under Section 5 of the Securities Act) for the same reasons as those

portions of Counts 5–12 (brought under the Exchange Act). Mot. 32.

        The SEC argues that BHL’s motion to dismiss these claims somehow seeks reconsideration

of the Court’s order allowing those claims to move forward under the allegations in the SEC’s

original complaint, Opp. 17 n.6, but presents no substantive response to Defendants’ argument

that the agency’s amended allegations as to BHL’s alleged post-ICO BNB sales pled the SEC out

of court by confirming that these claims target blind transactions on the exchanges, Mot. 21.

        C.     The SEC Fails To Show That Employee Compensation Constituted
               “Investment Contracts.” (Count 1)

        The SEC also fails to rehabilitate its claim that BHL’s salary and bonus payments to its


16
   The SEC cites two cases in support of treating game tokens as securities, Opp. 46–47, but each
is inapposite. In SG Limited, unlike here, the developer sold “shares in a particular virtual enter-
prise” that offered no utility other than equity ownership. 265 F.3d 42, 44 (1st Cir. 2001). Harper
involved purchases of digital avatars that “cannot be used and are currently just digital pictures.”
2024 WL 3845444, at *10. Unlike here, the “‘consumptive use’” of the avatars “was not yet in
play.” Id.


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employees in BNB as a 1:1 substitute for fiat currency represented securities transactions. Mot.

33–37. The SEC’s theory, expressly rejected in Ripple I, 682 F. Supp. 3d at 330, departs from

established caselaw and the SEC’s own prior regulatory guidance defining the narrow circum-

stances in which employee compensation can constitute “investment contracts.”

       The SEC admits that BNB was provided to employees as a cash-equivalent currency that

could be—and was—resold or otherwise used to support living expenses. Opp. 54, 56 (resales

“inevitable”); e.g., Am. Compl. ¶ 311. That concession is fatal, as an employee does not enter an

investment contract when her primary motivation is to “obtain a livelihood.” Daniel, 439 U.S. at

560. Tokens used as the equivalent of cash-based compensation, and even more obviously as a

relocation stipend to defray cost-of-living expenses, Am. Compl. ¶ 324, lack the “elements of” an

investment contract “to a very substantial degree.” Daniel, 439 U.S. at 560.

       In response, the SEC announces a new theory that employees were “underwriters” helping

BHL distribute BNB to “public investors.” Opp. 56. This theory appears nowhere in the Amended

Complaint, which the SEC “may not amend” through its “brie[f] in opposition.” Woytowicz v.

George Washington Univ., 327 F. Supp. 3d 105, 119 n.4 (D.D.C. 2018). The SEC’s new theory

is incomplete and insufficiently developed, given that the SEC never explains how Howey would

be satisfied for transactions between employees and the businesses or individuals who gave them

money, goods, or services for BNB. The SEC also gets backwards the significance of the lack of

any lockup period for those BNB payments. Cf. Opp. 56. That BHL “did not impose restrictions,”

id., makes BNB more like cash wages, which also have no lockup period. Courts have reasoned

that lockup periods “negate” the inference that tokens were used for consumption, Telegram, 448

F. Supp. 3d at 373, so the absence of a lockup period supports consumptive use.

       The SEC separately fails to explain how employees made an “investment of money” in




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BHL. The SEC previously acknowledged that employee labor alone is not an “investment of

money” under Howey, and that employees must do something more that contributes additional

capital to their employers (like accepting reduced wages for greater benefits) to trigger the securi-

ties laws. SEC, Employee Benefit Plans; Interpretations of Statute, 45 Fed. Reg. 8,960, 8,964/2–

8,965/1 (Feb. 11, 1980). The SEC alleges no additional contribution here. The SEC ignores that

its own case, Uselton, held that employees “did more than merely contribute labor” by voluntarily

accepting wage reductions. 940 F.2d 564, 570, 577 (10th Cir. 1991); see also Frisch v. Likeopedia,

LLC, 2024 WL 3938345, at *2, *5 (S.D.N.Y. Aug. 26, 2024) (employee agreed to defer all cash

compensation in favor of equity). And the SEC presents no substantive response to the multiple

cases holding that labor alone is not an “investment of money.” See Opp. 57 n.11.

       With respect to periodic bonuses, ETOP payments, and relocation allowances, the SEC’s

claims also fail because the Amended Complaint does not allege that employees voluntarily opted

to receive these payments in BNB, or that the BNB payments were more than incidental to their

overall compensation. Mot. 36. Discretionary bonuses, for example, are unilaterally given by an

employer without a voluntary exchange of specific consideration from the employee. The SEC

cannot show otherwise by citing paragraphs of the Amended Complaint regarding salary payments

and signing bonuses; nor does an employee’s agreement to relocate equate to a voluntary choice

to receive a relocation allowance in BNB as opposed to some other currency. Opp. 57.

       D.      The SEC Fails To Salvage Its Claim Concerning Simple Earn. (Count 3)

       The SEC’s claim concerning Simple Earn fails because the agency still has not alleged

“any connection between the use of the funds” in Simple Earn and “the rewards paid.” Binance,

2024 WL 3225974, at *26; see also Mot. 38–39. The SEC suggests that the APR is linked to the

profitability of the “Simple Earn enterprise,” Opp. 61, but that is incorrect. “[T]he APR offered




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to Simple Earn users is discretionary and doesn’t reflect any indication of profitability within Bi-

nance’s various operations.” 17 APRs are not “dependent on” the success of any BHL enterprise

nor related to BHL’s efforts across its “various operations,” Binance, 2024 WL 3225974, at *26

& n.22, including Simple Earn. And although BHL allegedly told users that it “may” deploy Sim-

ple Earn tokens in multiple ways, Am. Compl. ¶ 427, no allegation says that BHL actually took

those steps, unlike in Genesis, where the SEC alleged far more about what the defendants did with

the money they received, see 2024 WL 1116877, at *9 (S.D.N.Y. Mar. 13, 2024).

         The SEC also fails to refute that Simple Earn participants “loan” their tokens without sur-

rendering ownership of them. Mot. 39. Unlike the BAM staking program and the program in SEC

v. Better Life Club, 995 F. Supp. 167, 173–74 (D.D.C. 1998), Opp. 59, Simple Earn participants

can “withdraw” their tokens “at any time,” thus retaining ownership rights, Am. Compl. ¶ 428. At

bottom, Simple Earn operates like a bank account, not a security. The SEC insists that Simple

Earn is “backed by nothing” and is not subject to comprehensive regulation. Opp. 59. But that is

not the test under Howey. “Not every ‘profit-making opportunity’ is an investment contract,” Bi-

nance, 2024 WL 3225974, at *26, and the SEC again fails to distinguish investment contracts from

assets or accounts Congress did not intend to be subject to the securities laws.

II.      The SEC Fails To Explain Why Its Claims Concerning Third-Party Tokens Should
         Proceed Without Their Developers. (Counts 5–10)

         The SEC fails to explain why this case should proceed without the third-party developers

that the SEC named in the Amended Complaint—just not as defendants.




17
   Introduction to Binance Simple Earn (Sept. 22, 2022), https://www.binance.com/en/sup-
port/faq/introduction-to-binance-simple-earn-8df6abf5930e4ef4977d84f45d99d491  (incorpo-
rated at Am. Compl. ¶ 436).


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       A.      The SEC Is Not Immune From Rule 19.

       The SEC’s primary argument is that it is immune from Rule 19 under Heckler v. Chaney,

470 U.S. 821, 832 (1985), which held that an agency’s failure to bring an enforcement action is

presumptively nonreviewable “under § 701(a)(2)” of the Administrative Procedure Act. This ar-

gument lacks merit.

       First, this is not an APA case, and nobody is seeking to force the SEC to bring an enforce-

ment action—to the contrary, BHL is seeking to dismiss portions of an enforcement action that the

SEC, in its discretion, has already brought. Even for the third-party developers themselves, the

SEC did exercise its enforcement discretion when it named them and their tokens in the Amended

Complaint while omitting hundreds of other tokens that trade on Binance.com and Binance.US.

       Second, “Congress may limit an agency’s exercise of enforcement power,” including by

“circumscribing an agency’s power to discriminate among issues or cases it will pursue.” Heckler,

470 U.S. at 833. As relevant here, Congress authorized Rule 19 through the Rules Enabling Act,

circumscribing the SEC’s power to unilaterally choose the parties that the agency includes in a

civil enforcement action. See Shady Grove Orthopedic Assocs. v. Allstate Ins. Co., 559 U.S. 393,

406–07 (2010) (Rules Enabling Act authorizes Supreme Court to promulgate rules of procedure

“subject to [Congress’s] review”). Nothing suggests Congress intended to exempt the SEC from

Rule 19, which is designed precisely for this scenario—“to protect the interests of absent persons.”

7 Wright & Miller, Fed. Prac. & Proc. Civ. § 1602 (3d ed.). “Like any ordinary litigant, the Gov-

ernment must abide by the Federal Rules of Civil Procedure.” SEC v. Collins & Aikman Corp.,

256 F.R.D. 403, 414 (S.D.N.Y. 2009).

       The SEC’s non-binding and unpublished cases are easily distinguishable and, in any event

unpersuasive because they fail to grapple with the actual reasoning in Heckler (which was about

APA lawsuits in which the government is a defendant) or the Rules Enabling Act (which authorized


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Rule 19 and nowhere exempts the SEC from its requirements). In neither of the SEC’s cases did

the agency exercise its discretion to bring otherwise unnecessary challenges to third-party compa-

nies or products that the SEC says violate the securities laws. 18 Moreover, here, unlike in the

SEC’s cases, the SEC’s enforcement action against BHL and BAM can proceed without the third

parties—in other words, it was not necessary for the SEC to include claims about the ten third-

party tokens. The problem is that the SEC did so but omitted their developers as parties.

        B.      Under Rule 19, The Third-Party Developers Are Required Parties, And The
                SEC Fails To Justify Proceeding Without Them.

        Under Rule 19, the SEC’s claims concerning the third-party tokens should be dismissed.

        Required Parties Under Rule 19(a). The SEC’s assertion that the third-party developers

are not required parties is premised on a misrepresentation of what is at stake for the developers.

The SEC explicitly “seeks a ruling that Defendants acted as unregistered securities intermediar-

ies.” Opp. 64. Such a ruling would require a conclusion that the tokens issued by the absent third

parties are, in fact, sold as securities.

        It makes no difference that none of the third-party developers sought to intervene or filed

a standalone amicus brief on top of the multiple briefs filed by associations and others representing

the industry. Opp. 64. Rule 19 provides a clear standard for determining when joinder is manda-

tory, and it does not hinge on absent parties. See Eco Tour Adventures, Inc. v. Zinke, 249 F. Supp.

3d 360, 390 (D.D.C. 2017); Ohio Valley Envtl. Coal., Inc. v. Hobet Mining, LLC, 723 F. Supp. 2d

886, 915 (S.D. W. Va. 2010) (Rule 19’s interest requirement is not contingent on an absent party’s



18
  In SEC v. Norstra Energy Inc., 2016 WL 4530893, at *2 (S.D.N.Y. Jan. 19, 2016), fraud claims
against a company and its executive did not require similar charges against another executive be-
cause any judgment would bind the company. And the “alleged fraudulent conduct” by an indi-
vidual defendant in SEC v. Princeton Economic International Ltd., 2001 WL 102333, at *1
(S.D.N.Y. Feb. 7, 2001), did not require a judgment that other entities had committed wrongdoing.


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active involvement in the case); see also Lewis v. Gov’t of D.C., 324 F.R.D. 296, 301 (D.D.C.

2018) (court ordering sua sponte joinder of the U.S. Attorney). Imposing the SEC’s intervention

requirement would be especially unfair to the third parties at issue here, which are not subject to

jurisdiction in this Court. See Mot. 41–42.

       The SEC also disregards the potential divergence of interests between Defendants and the

developers. If the SEC seeks to settle its claims, Defendants may be presented with strategic de-

cisions that might not fully protect the interests of the absent third parties. For example, compared

to the third-party developers, Defendants would have less reason to turn down a settlement offer

that required it to kick a particular token off its platform. Defendants would also be less certain to

appeal a narrow decision holding that only a particular subset of transactions involving a single

token qualified as investment contracts. In those scenarios, the absent developers could face severe

challenges, including “potential liability” in private securities class actions premised on sales of

their tokens on Binance.com. Ali v. Carnegie Inst. of Wash., 306 F.R.D 20, 28 (D.D.C. 2014).

       Feasibility of Joinder. The SEC fails to meet its burden of demonstrating that joinder of

the absent third-party developers would be feasible. Mot. 41. The agency suggests it can serve

the developers, but provides no details other than alluding vaguely to nationwide service of process

and “a variety of means” “in the United States or abroad.” Opp. 66. The SEC does not even

attempt to explain any “minimum contacts” the third parties have with the United States (or Wash-

ington, D.C.), as required by the Due Process Clause. SEC v. e-Smart Techs., Inc., 828 F. Supp.

2d 167 (D.D.C. 2011); SEC v. Carrillo, 115 F.3d 1540 (11th Cir. 1997).

       Since the SEC has not even attempted to satisfy its burden to show that it can join the

required third parties, the Court should hold that joinder is not feasible. Alternatively, the Court

could order the SEC to join the absent developers within 30 days of the Court’s order, after which




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the Court could dismiss the claims for any developer that the SEC fails to join.

       Dismissal Under Rule 19(b). Dismissal is the appropriate remedy where, as here, required

parties cannot be joined and would be severely prejudiced if the case proceeds without them. Rule

19(b) is grounded in equitable considerations and requires a case-specific analysis. See Stand Up

for Cal.! v. U.S. Dep’t of Interior, 204 F. Supp. 3d 212, 252 (D.D.C. 2016). This Court enjoys

substantial discretion in balancing the relevant factors. See Cloverleaf Standardbred Owners Ass’n

v. Nat’l Bank of Wash., 699 F.2d 1274, 1277 (D.C. Cir. 1983). Further, the SEC’s assertion that a

judgment without the third-party developers would be inadequate is wrong. Opp. 66. The SEC

would remain free to pursue enforcement actions directly against the third-party developers, and

it can attempt to proceed against BHL based on its claims concerning BNB, BNB Vault, and Sim-

ple Earn without unfairly imposing the consequences of this case on absent third parties.

III.   The SEC Fails To Show That Its Request For Disgorgement Should Proceed To
       Discovery.

       Contrary to the SEC’s argument, Defendants’ motion to strike the agency’s request for dis-

gorgement is not “premature,” Opp. 67, and Defendants should not face burdensome discovery

concerning disgorgement the SEC cannot recover. The SEC does not deny that courts have granted

similar motions at the pleading stage when, as here, the SEC fails to allege necessary facts to

support disgorgement. See SEC v. City of Victorville, 2014 WL 12588688, at *12 (C.D. Cal. Oct.

14, 2014); SEC v. Berry, 2008 WL 4065865, at *10 (N.D. Cal. Aug. 27, 2008).

       The SEC does not dispute its failure to allege that a single investor suffered pecuniary

harm, as required for the agency to seek disgorgement. SEC v. Govil, 86 F.4th 89, 103 (2d Cir.

2023). Instead, the SEC contends that this requirement “runs counter to binding D.C. Circuit au-

thority.” Opp. 68 (citing Zacharias v. SEC, 569 F.3d 458, 471–72 (D.C. Cir. 2009) (per curiam)).

But Zacharias is no longer good law in light of Kokesh v. SEC, 581 U.S. 455, 463 (2017) (“SEC



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disgorgement constitutes a penalty within the meaning of § 2462”). See also Saad v. SEC, 873

F.3d 297, 305 (D.C. Cir. 2017) (Kavanaugh, J., concurring) (Kokesh “overturned” Zacharias). And

another recent Supreme Court decision, Liu v. SEC, makes clear that for the SEC to recover dis-

gorgement it must be “for victims.” 591 U.S. 71, 75, 88 (2020). As the Second Circuit recognized

in Govil, Liu “presupposes pecuniary harm.” 86 F.4th at 103.

       The SEC’s cases are inapposite because each indisputably involved victims who lost

money due to the defendant’s activity. See SEC v. Almagarby, 92 F.4th 1306, 1320 (11th Cir. 2024)

(investors suffered from “the price impact” of high-frequency “selling activity”); SEC v. Navellier

& Assocs., Inc., 108 F.4th 19, 41 n.14 (1st Cir. 2024) (misrepresentations induced payment of

advisory fees); SEC v. GenAudio Inc., 32 F.4th 902, 917 (10th Cir. 2022) (investment based on

multiple misrepresentations). Here, by contrast, nothing in the Amended Complaint suggests that

“but for” BHL’s violations, investors lost money. SEC v. Wyly, 71 F. Supp. 3d 399, 414 (S.D.N.Y.

2014). Unlike in the SEC’s cases, here the agency alleges nothing to suggest that, “had [BHL]

complied with [the securities laws’] registration requirements,” anything would have been differ-

ent at all for investors. SEC v. Ripple Labs, Inc., 2024 WL 3730403, at *6 (S.D.N.Y. Aug. 7, 2024).

                                           Conclusion

       For these reasons and those in Defendants’ opening brief, the SEC’s claims against BHL

and Mr. Zhao should be dismissed. Dismissal should be with prejudice and without leave to amend

because the SEC has “already had two bites at the proverbial apple”—including after the Court

spelled out the SEC’s pleading deficiencies—and yet has failed to remedy these flaws. Hourani

v. Mirtchev, 943 F. Supp. 2d 159, 172 (D.D.C. 2013).




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Dated: December 23, 2024                 Respectfully submitted,



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